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                               TENTATIVE RULING
                    ISSUED BY JUDGE LAURA S. TAYLOR




   Debtor:       JESSE WAYNE DAWBER


   Number:       18-06044-LT11
   Hearing:      11:00 AM Thursday, December 5, 2019
   Motion:   MOTION FOR ENTRY OF AN ORDER APPROVING
   SETTLEMENT AGREEMENT AND MUTUAL RELEASE WITH CREDITOR
   JACK SCHINDLER PURSUANT TO RULE 9019 OF THE FEDERAL RULES OF
   BANKRUPTCY PROCEDURE FILED ON BEHALF OF DAVID K. GOTTLIEB,
   CHAPTER 11 TRUSTEE


   Hear.
            The Court is strongly inclined to grant this unopposed Motion and to
   approve the proposed Settlement Agreement; typically, it would do so by this
   Tentative ruling – and appearances would be waived. The Court has reviewed
   the Settlement Agreement and considered the factors set out in Martin v. Kane
   (In re A & C Properties), 784 F.2d 1377, 1380-81 (9th Cir. 1986). The Court,
   thus, considered the Trustee's analysis of the probability of success in the
   litigation; the difficulties which would likely be encountered in the matter of
   collection; the complexity of the litigation which would be involved, and the
   expense, inconvenience, and delay necessarily attending it; and the paramount
   interest of the creditors and a proper deference to their reasonable views in the
   premises. The Court preliminarily determines that the A & C Properties factors
   warrant approval of the Settlement Agreement.
          The Court, however, has some questions and requires additional
   discussion and clarification as to how this proposed settlement fits into the
   universe of this case which includes Mr. Schindler's pending motion for
   sanctions, the fee applications, if any, contemplated by the targets of the
   sanctions motion, and sanctions motions, if any, contemplated by the Trustee.
   The parties should be prepared to discuss. The Court also needs to understand
   how this agreement impacts typical payment priorities. Facially, it doesn't, but the
   Court wants to be sure. These points of discussion are unlikely to change the
   Court's view that the settlement is appropriate. But discussion may lead to
   inclusion of clarifying language in any approval order.
